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     SO. CAL. EQUAL ACCESS GROUP
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 5
     Attorneys for Plaintiff
 6   MARIA GARCIA
 7
                                UNITED STATES DISTRICT COURT
 8
                               CENTRAL DISTRICT OF CALIFORNIA
 9
10   MARIA GARCIA,                                     Case No.: 2:23-cv-08248-KS
11
                  Plaintiff,                           NOTICE OF VOLUNTARY
12                                                     DISMISSAL OF ENTIRE ACTION
           vs.                                         WITH PREJUDICE
13
14   GERMAN NATHAN ESPITIA D/B/A
     LITTLEROCK GRILL; LINDA DIANNE
15   MACLEAN, AS TRUSTEE OF THE
16   MACLEAN LIVING TRUST; and DOES
     1 to 10,
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                  Defendants.
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           PLEASE TAKE NOTICE that Plaintiff MARIA GARCIA (“Plaintiff”) pursuant
21
     to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
22
     action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
23
     provides in relevant part:
24
           (a) Voluntary Dismissal.
25
                  (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
26
                         and any applicable federal statute, the plaintiff may dismiss an action
27
                         without a court order by filing:
28


                                                   1
                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1                      (i)   A notice of dismissal before the opposing party serves either an
 2                            answer or a motion for summary judgment.
 3   None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 4   summary judgment. Accordingly, this matter may be dismissed without an Order of the
 5   Court.
 6
 7   DATED: December 8, 2023               SO. CAL. EQUAL ACCESS GROUP
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 9
10                                         By:     /s/ Jason J. Kim
                                                 Jason J. Kim, Esq.
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                                                 Attorneys for Plaintiff
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                   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
